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EXHIBIT C
                                                                            Case 1:25-cv-10498-RGS                                           Document 1-5                      Filed 03/03/25            Page 2 of 6
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                                                                                                Community                                                                            Community map repository address

                                                   City of Buchanan ......................................................................................        Buchanan City Hall, 302 North Redbud Trail, Buchanan, MI 49107.
                                                   City of Coloma ..........................................................................................      Coloma City Hall, 119 North Paw Paw Street, Coloma, MI 49038.
                                                   City of Niles ..............................................................................................   Niles City Hall, 333 North Second Street, Suite 301, Niles, MI 49120.
                                                   City of St. Joseph .....................................................................................       St. Joseph City Hall, 700 Broad Street, St. Joseph, MI 49085.
                                                   City of Watervliet ......................................................................................      Watervliet City Hall, 158 West Pleasant Street, Watervliet, MI 49098.
                                                   Township of Berrien .................................................................................          Berrien Township Office, 8916 M–140, Berrien Center, MI 49102.
                                                   Township of Bertrand ...............................................................................           Bertrand Community Hall, 3835 Buffalo Road, Buchanan, MI 49107.
                                                   Township of Buchanan .............................................................................             Buchanan Township Hall, 15235 Main Street, Buchanan, MI 49107.
                                                   Township of Hagar ...................................................................................          Hagar Township Hall, 3900 Riverside Road, Riverside, MI 49084.
                                                   Township of Royalton ...............................................................................           Royalton Township Hall, 980 Miners Road, St. Joseph, MI 49085.
                                                   Township of Sodus ...................................................................................          Sodus Township Office, 4056 King Drive, Sodus, MI 49126.
                                                   Village of Shoreham .................................................................................          Village of Shoreham Village Hall, 2120 Brown School Road, St. Jo-
                                                                                                                                                                    seph, MI 49085.

                                                                                                                           Cass County, Michigan (All Jurisdictions)
                                                                                                                   Project: 23–05–0013S Preliminary Date: March 27, 2024

                                                   City of Dowagiac ......................................................................................        City Hall, 241 South Front Street, Dowagiac, MI 49047.
                                                   Township of Calvin ...................................................................................         Calvin Township Hall, 18693 Mount Zion Street, Cassopolis, MI 49031.
                                                   Township of Jefferson ..............................................................................           Jefferson Township Hall, 24725 Jefferson Center Street, Cassopolis,
                                                                                                                                                                    MI 49031.
                                                   Township of Lagrange ..............................................................................            Lagrange Township Hall, 58253 M–62, Cassopolis, MI 49031.
                                                   Township of Marcellus ..............................................................................           Township Hall, 463 W Main Street, Marcellus, MI 49067.
                                                   Township of Mason ..................................................................................           Mason Township Hall, 17049 US Highway 12, Edwardsburg, MI 49112.
                                                   Township of Newberg ...............................................................................            Newberg Township Hall, 13020 Born Street, Jones, MI 49061.
                                                   Township of Ontwa ...................................................................................          Ontwa Township Hall, 26225 US Highway 12, Edwardsburg, MI 49112.
                                                   Township of Penn .....................................................................................         Penn Township Hall, 60717 South Main Street, Vandalia, MI 49095.
                                                   Township of Pokagon ...............................................................................            Pokagon Township Hall, 30683 Peavine Street, Dowagiac, MI 49047.
                                                   Township of Porter ...................................................................................         Porter Township Hall, 69373 Baldwin Prairie Road, Union, MI 49130.
                                                   Township of Silver Creek .........................................................................             Silver Creek Township Hall, 32764 Dixon Street, Dowagiac, MI 49047.
                                                   Township of Volinia ..................................................................................         Volinia City Hall, 53254 Goodenough Road, Marcellus, MI 49067.
                                                   Township of Wayne ..................................................................................           Wayne Township Hall, 53950 Glenwood Road, Dowagiac, MI 49047.
                                                   Village of Cassopolis ................................................................................         Village Hall, 121 North Disbrow Street, Cassopolis, MI 49031.
                                                   Village of Edwardsburg ............................................................................            Village Hall, 26296 US Highway 12, Edwardsburg, MI 49112.
                                                   Village of Vandalia ....................................................................................       Village Hall, 18035 State Street, Vandalia, MI 49095.



                                                   [FR Doc. 2025–02982 Filed 2–21–25; 8:45 am]                               the 2024 action, former Secretary                             Regulatory Coordination Division,
                                                   BILLING CODE 9110–12–P                                                    Mayorkas again extended the                                   Office of Policy and Strategy, U.S.
                                                                                                                             designation of Haiti for TPS for the                          Citizenship and Immigration Services,
                                                                                                                             statutory maximum of 18 months (until                         Department of Homeland Security, 800–
                                                   DEPARTMENT OF HOMELAND                                                    February 3, 2026), which covered                              375–5283.
                                                   SECURITY                                                                  approximately 199,445 Haitian                                 SUPPLEMENTARY INFORMATION:
                                                                                                                             nationals; and again newly designated
                                                   U.S. Citizenship and Immigration                                          Haiti for TPS, which had the effect of                        I. Temporary Protected Status (TPS)
                                                   Services                                                                  allowing approximately 321,349                                Generally
                                                   [CIS No. 2809–25; DHS Docket No. USCIS–                                   additional Haitian nationals to qualify                          The Immigration and Nationality Act
                                                   2014–0001]                                                                for the same 18-month period. For the                         (INA) authorizes the Secretary, after
                                                                                                                             reasons described in this notice, the                         consultation with appropriate U.S.
                                                   RIN 1615–ZB70
                                                                                                                             Secretary has determined to partially                         Government agencies, to designate a
                                                   Partial Vacatur of 2024 Temporary                                         vacate the June 4, 2024, decision by                          foreign state (or part thereof) for TPS if
                                                   Protected Status Decision for Haiti                                       reducing the designation period from 18                       the Secretary determines that certain
                                                                                                                             months to 12 months. The Secretary is                         country conditions exist.1 In the case of
                                                   AGENCY: U.S. Citizenship and                                              also making a corresponding change to                         Haiti, the designation was based on
                                                   Immigration Services (USCIS),                                             the registration deadline for new                             former Secretary Mayorkas’
                                                   Department of Homeland Security                                           applicants under the new designation.                         determination that ‘‘there exist
                                                   (DHS).                                                                    Accordingly, by operation of this notice,                     extraordinary and temporary conditions
                                                   ACTION: Notice of Temporary Protected                                     the Haiti TPS extension and new                               in [Haiti] that prevent aliens who are
                                                   Status (TPS) partial vacatur.                                             designation will expire on August 3,                          nationals of [Haiti] from returning to
                                                                                                                             2025, instead of February 3, 2026, and                        [Haiti] in safety.’’ Former Secretary
                                                   SUMMARY: Through this notice, the                                                                                                       Mayorkas, however, failed to evaluate
                                                                                                                             the first-time registration will remain in
                                                   Department of Homeland Security                                                                                                         whether ‘‘permitting the aliens to
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                                                                                                                             effect until August 3, 2025, instead of
                                                   (DHS) announces that the Secretary of                                                                                                   remain temporarily in the United
                                                                                                                             February 3, 2026.
                                                   Homeland Security (Secretary) has
                                                   decided to partially vacate the June 4,                                   DATES: The partial vacatur of the June 4,                       1 INA 244(b)(1), 8 U.S.C. 1254a(b)(1). Although

                                                   2024, decision of former Secretary                                        2024, decision is effective immediately.                      section 244(b)(1) of the INA continues to refer to the
                                                   Alejandro Mayorkas regarding the                                          Notice of the June 4, 2024, decision was                      Attorney General, this authority now resides with
                                                                                                                             published at 89 FR 54484 (July 1, 2024).                      the Secretary of Homeland Security by operation of
                                                   extension of the designation of Haiti for                                                                                               the Homeland Security Act of 2002, Public Law
                                                   Temporary Protected Status (TPS) and                                      FOR FURTHER INFORMATION CONTACT:                              107–296, 116 Stat. 2135, as amended. See, e.g., 6
                                                   the new designation of Haiti for TPS. In                                  Samantha Deshommes, Chief,                                    U.S.C. 557; 8 U.S.C. 1103(a)(1).



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                                                   States’’ is not ‘‘contrary to the national               in January 2010 on the basis of                          months on the basis of ‘‘extraordinary
                                                   interest of the United States.’’ 2                       extraordinary and temporary conditions                   and temporary conditions.’’ 10 Another
                                                      The determination whether to                          stemming from an earthquake.5 DHS                        18-month extension and new
                                                   designate any foreign state (or part                     estimated at the time that there were                    designation was published in February
                                                   thereof) for TPS is discretionary, and                   100,000 to 200,000 Haitians in the                       2023.11 DHS then extended the re-
                                                   with respect to an exercise of this                      United States who would be eligible.6                    registration period from 60 days to 18
                                                   discretion, Congress expressly withheld                  Following the initial designation, DHS                   months.12
                                                   jurisdiction from Federal courts such                    extended the TPS designation for Haiti                      Most recently, in July 2024, DHS
                                                   that there is no judicial review of ‘‘any                and newly designated Haiti based on                      issued a notice stating that Secretary
                                                   determination of the [Secretary] with                    ‘‘extraordinary and temporary                            Mayorkas once again had determined to
                                                   respect to the designation, or                           conditions’’ numerous times between                      extend and newly designate Haiti for
                                                   termination or extension of a                            2011 and 2018.7                                          TPS for an 18-month period, set to
                                                   designation, of a foreign state’’ for TPS.3                 In January 2018, DHS announced the                    expire on February 3, 2026.13 DHS
                                                   If a country is designated, the Secretary,               termination of the TPS designation of                    concluded, in summary, that ‘‘Haiti is
                                                   in the Secretary’s discretion, may then                  Haiti effective July 22, 2019.8 The                      experiencing extraordinary and
                                                   grant TPS to eligible nationals of that                  termination of Haiti’s TPS designation                   temporary conditions resulting from
                                                   foreign state (or individual aliens having               was challenged in several lawsuits, and                  grave insecurity and gang crime, as well
                                                   no nationality who last habitually                       preliminary injunctions prevented DHS                    as socio-economic and humanitarian
                                                   resided in the designated foreign state).                from implementing the termination of                     conditions, including those resulting
                                                   See INA 244(a)(1)(A), 8 U.S.C.                           TPS for Haiti pending a final court                      from environmental disasters
                                                   1254a(a)(1)(A). The INA provides that                    order.9                                                  aggravating food insecurity.’’ 14
                                                   such aliens shall be granted                                Meanwhile, in August 2021, former                     However, DHS concluded, without any
                                                   employment authorization, and that                       Secretary Mayorkas announced that he                     support in the record, that allowing
                                                   such work authorization must be                          was newly designating Haiti for 18                       Haitian nationals who would qualify for
                                                   effective throughout the TPS                                                                                      TPS to remain in the country was not
                                                   designation period.4                                        5 See Designation of Haiti for Temporary
                                                                                                                                                                     contrary to the national interest, as
                                                      At least 60 days before the expiration                Protected Status, 75 FR 3476 (Jan. 21, 2010).
                                                                                                               6 75 FR 3477.                                         required by the statute.
                                                   of a foreign state’s TPS designation or                     7 See Extension and Redesignation of Haiti for           Each new designation allowed
                                                   extension, the Secretary, after                          Temporary Protected Status, 76 FR 29000 (May 19,         additional Haitian nationals who
                                                   consultation with appropriate U.S.                       2011); Extension of the Designation of Haiti for         entered the United States, including
                                                   Government agencies, must review the                     Temporary Protected Status, 77 FR 59943 (Oct. 1,         illegally, to qualify even though these
                                                   conditions in the foreign state                          2012); Extension of the Designation of Haiti for
                                                                                                            Temporary Protected Status, 79 FR 11808 (Mar. 3,         populations were not impacted by the
                                                   designated for TPS to determine                          2014); Extension of the Designation of Haiti for         preceding findings of ‘‘extraordinary
                                                   whether they continue to meet the                        Temporary Protected Status, 80 FR 51582 (Aug. 25,        and temporary conditions.’’ In May
                                                   conditions for the TPS designation. See                  2015); Extension of the Designation of Haiti for         2011, DHS estimated that 57,000
                                                   INA 244(b)(3)(A), 8 U.S.C.                               Temporary Protected Status, 82 FR 23830 (May 24,
                                                                                                            2017).                                                   Haitians were eligible to register for
                                                   1254a(b)(3)(A). If the Secretary                            8 See Termination of the Designation of Haiti for     TPS.15 In August 2021, DHS estimated
                                                   determines conditions in the foreign                     Temporary Protected Status, 83 FR 2648 (Jan. 18,         that 155,000 Haitians were eligible
                                                   state continue to meet the conditions for                2018).                                                   under that new designation.16 And by
                                                   TPS designation, the designation will be                    9 See, e.g., Order Granting Motion for Preliminary
                                                                                                                                                                     July 2024, the estimate had ballooned to
                                                   extended for 6 months or, in the                         Injunction dated Oct. 3, 2018, ECF 128, in Ramos
                                                                                                            v. Nielsen, No. 18–cv–01554 (N.D. Cal.); Decision        520,694 (199,445 under the extension,
                                                   Secretary’s discretion, 12 or 18 months.                 and Order dated Apr. 11, 2019, ECF 155 in Saget          and 321,249 additional aliens under the
                                                   See INA 244(b)(3)(A), (C), 8 U.S.C.                      v. Trump, No. 1:18–cv–1599 (E.D.N.Y.). Both              new designation).17
                                                   1254a(b)(3)(A), (C). If the Secretary                    preliminary injunctions were appealed, see Ramos            Further, former Secretary Mayorkas in
                                                   determines that the foreign state no                     v. Nielsen, No. 18–16981 (9th Cir.) and Saget v.
                                                                                                            Trump, No. 19–1685 (2d Cir,), but the appellate          2023 reconsidered and rescinded the
                                                   longer meets the conditions for TPS                      proceedings were dismissed after Haiti was newly         first Trump Administration’s decisions
                                                   designation, the Secretary must                          designated for TPS. See Order dated June 29, 2023,       to terminate TPS designations for
                                                   terminate the designation. See INA                       ECF 191, Ramos v. Nielsen, No. 18–16981 (9th Cir,);      Honduras, El Salvador, Nicaragua, and
                                                   244(b)(3)(B), 8 U.S.C. 1254a(b)(3)(B).                   Order on parties’ stipulated dismissal of appeal,
                                                                                                            dated Oct. 5, 2021, ECF 281, Saget v. Trump, No.         Nepal.18 In the case of El Salvador,
                                                   II. Background                                           19–1685 (2d Cir.). On Dec. 28, 2023, the U.S.
                                                                                                            District Court for the Northern District of California     10 See Designation of Haiti for Temporary
                                                      Designations of Haiti for TPS based on                dismissed Ramos v. Nielsen, No. 18–cv–01554 (N.D.        Protected Status, 86 FR 41863 (Aug. 3, 2021).
                                                   ‘‘extraordinary and temporary                            Cal. Dec. 28, 2023), holding that the subsequent           11 See Extension and Redesignation of Haiti for

                                                   conditions’’ in that country extend back                 TPS designations rendered the litigation moot. See       Temporary Protected Status, 88 FR 5022 (Jan. 26,
                                                                                                            Order Granting Defendants’ Motion to Dismiss             2023).
                                                   15 years. Haiti was initially designated                 dated Dec. 28, 2023, ECF 222, Ramos v. Nielsen,            12 See Extension of Re-Registration Periods for
                                                                                                            No. 18–cv–01554, (N.D. Cal.). On October 15, 2021,       Extensions of the Temporary Protected Status
                                                      2 INA 244(b)(1)(C), 8 U.S.C. 1254a(b)(1)(C); see
                                                                                                            the U.S. District Court for the Eastern District of      Designations of El Salvador, Haiti, Honduras,
                                                   Extension and Redesignation of Haiti for                 New York similarly dismissed the Saget case. See         Nepal, Nicaragua, and Sudan, 88 FR 86665 (Dec.
                                                   Temporary Protected Status, 89 FR 54484 (July 1,         Stipulation of Dismissal and Order Dismissing Case       14, 2023).
                                                   2024). The Secretary also may designate a country        dated Oct. 15, 2021, ECF 166, Saget v. Trump, No.          13 See Extension and Redesignation of Haiti for
                                                   (or part of a country) for TPS on the basis of (1) an    1:18–cv–1599 (E.D.N.Y.). The termination of TPS          Temporary Protected Status, 89 FR 54484 (July 1,
                                                   ongoing armed conflict such that returning would         for Haiti was also challenged in Centro Presente, et     2024).
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                                                   pose a serious threat to the personal safety of the      al., v. Biden, No. 1:18–cv–1–340 (D. Mass.) and            14 89 FR 54491.
                                                   country’s nationals, or (2) an environmental disaster    Nat’l Ass’n for the Advancement of Colored People          15 76 FR 29002.
                                                   (including an epidemic) that results in a substantial,   v. Dep’t of Homeland Security, No.1:18–cv–239 (D.
                                                   but temporary, disruption of living conditions in                                                                   16 86 FR 41868.
                                                                                                            Md.). Claims in those cases were also dismissed
                                                   the affected area and certain other conditions are       following the new designation of TPS for Haiti. See        17 89 FR 54492.
                                                   met. See INA 244(b)(1)(A)–(B), 8 U.S.C.                  Stipulation of Dismissal dated June 29, 20203, ECF         18 See Reconsideration and Rescission of
                                                   1254a(b)(1)(A)–(B).                                      178, Centro Presente, et al. v. Biden, No. 1:18–cv–      Termination of the Designation of El Salvador for
                                                      3 INA 244(b)(5)(A), 8 U.S.C. 1254a(b)(5)(A).
                                                                                                            1–340 (D. Mass.); Order Approving Stipulation of         Temporary Protected Status; Extension of the
                                                      4 See INA 244(a)(1)(B), (a)(2), 8 U.S.C.              Dismissal dated Nov. 4, 2021, ECF 116, NAACP v.          Temporary Protected Status Designation for El
                                                   1254a(a)(1)(B), (a)(2).                                  DHS, No.1:18–cv–239 (D. Md.).                            Salvador, 88 FR 40282 (June 21, 2023);



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                                                   Secretary Mayorkas determined—five                         The Secretary of Homeland Security                  temporarily in the United States is not
                                                   years after the 2018 termination                        accordingly is reconsidering and                       contrary to the U.S. national interest.
                                                   decision was announced—that ‘‘at the                    partially vacating the June 4, 2024,                   The notice simply states that ‘‘it is not
                                                   time of the decision to terminate TPS,                  decision of Secretary Mayorkas to                      contrary to the national interest of the
                                                   El Salvador continued to experience’’                   extend the Haiti TPS designation and                   United States.’’ The administrative
                                                   certain conditions ‘‘that were either                   newly designate Haiti for TPS for an                   record underlying Secretary Mayorkas’
                                                   insufficiently considered or not                        additional 18 months (from Aug. 4,                     June 4, 2024, decision likewise lacks
                                                   considered in the termination decision’’                2024, to Feb. 3, 2026). Specifically, the              any discussion of the critical national
                                                   and therefore that ‘‘[t]he termination                  Secretary has determined that the                      interest criterion. Such conclusory
                                                   decision failed to adequately assess                    extension and designation period for                   determinations do not accord with the
                                                   conditions in El Salvador in 2018.’’ 19                 Haiti should be reduced from the                       gravity of TPS decisions under the INA.
                                                   That notice stated that ‘‘[a]n agency has               statutory maximum of 18 months to 12                   ‘‘National interest’’ is an expansive
                                                   inherent (that is, statutorily implicit)                months. Accordingly, by operation of                   standard that may encompass an array
                                                   authority to revisit its prior decisions                this notice, the Haiti TPS extension and               of broad considerations, including
                                                   unless Congress has expressly limited                   new designation will expire on August                  foreign policy, public safety (e.g.,
                                                   that authority’’ and that ‘‘[t]he TPS                   3, 2025, instead of February 3, 2026.                  potential nexus to criminal gang
                                                   statute does not limit the Secretary’s                     The Secretary is taking this action for             membership), national security,
                                                   inherent authority to reconsider any                    several reasons. First, there is no                    migration factors (e.g., pull factors),
                                                   TPS-related determination, and upon                     discussion in the July 1, 2024, Federal                immigration policy (e.g., enforcement
                                                   reconsideration, to change the                          Register notice of why the 18-month                    prerogatives), and economic
                                                   determination.’’ 20 DHS did not                         period was selected in lieu of a 6- or 12-             considerations (e.g., adverse effects on
                                                   similarly reconsider and rescind the                    month period. Nor does the                             U.S. workers, impact on U.S.
                                                   2018 decision to terminate the Haiti TPS                administrative record underlying the                   communities).28 Determining whether
                                                   designation because, as noted, Secretary                June 3, 2024, decision and July 1, 2024,               permitting a class of aliens to remain
                                                   Mayorkas instead decided to newly                       notice bear any discussion of why the                  temporarily in the United States is
                                                   designate Haiti.21                                      18-month period was chosen. Allowing                   contrary to the U.S. national interest
                                                                                                           aliens from a given country, including                 therefore calls upon the Secretary’s
                                                   III. Reconsideration and Partial                        aliens who entered the United States                   expertise and discretionary judgment,
                                                   Vacatur of the 2024 Decision                            illegally or overstayed their authorized               informed by her consultations with
                                                      President Trump underscored in                       period of admission, to remain in the                  appropriate U.S. Government agencies.
                                                   Executive Order 14159, Protecting the                   United States temporarily with                            Third, although the July 1, 2024,
                                                   American People Against Invasion, that                  employment authorization is an                         notice cites some country conditions
                                                   enforcing the immigration laws ‘‘is                     extraordinary act. Congress recognized                 reports that are relatively proximate to
                                                   critically important to the national                    the gravity of such action under the TPS               the June 4, 2024, decision, several
                                                   security and public safety of the United                statute by setting the default extension               others date back to early 2023, 2022, or
                                                   States.’’ 22 In furtherance of that                     period at 6 months,25 underscoring the                 even earlier.29 And certain sources upon
                                                   objective, the President directed the                   uniqueness of this authority,26 and                    which DHS relied indicated that
                                                   Secretary, along with the Attorney                      limiting its own authority to enact                    significant developments were taking
                                                   General and Secretary of State, to                      legislation allowing TPS recipients to                 place in 2024 that might result in an
                                                   promptly take all appropriate action,                   adjust to lawful permanent resident                    improvement in conditions. For
                                                   consistent with law, to rescind policies                status.27 Accordingly, determinations of               example, as stated in the July 1, 2024,
                                                   that led to increased or continued                      how long a new designation should                      Federal Register notice, the United
                                                   presence of illegal aliens in the United                remain in effect and whether to depart                 Nations had recently authorized a
                                                   States.23 Among the directed actions are                from the default six-month period for an               Multinational Security Support (MSS)
                                                   to ensure that the TPS designations are                 extension of an existing designation                   mission to deploy in Haiti in 2024 and
                                                   consistent with the TPS statute and ‘‘are               should take into account important                     support the Haitian National Police in
                                                   appropriately limited in scope and                      considerations relating to the purpose of              capacity building, combatting gang
                                                   made for only so long as may be                         the statute and specific country and                   violence, and provide security for
                                                   necessary to fulfill the textual                        country conditions at issue and should
                                                   requirements of that statute.’’ 24                      not rest alone on administrative                          28 See, e.g., Poursina v. USCIS, 936 F.3d 868, 874

                                                                                                           convenience. Here, there was no                        (9th Cir. 2019) (observing, in an analogous INA
                                                   Reconsideration and Rescission of Termination of        explanation whatsoever of why the 18-                  context, ‘‘that the ‘national interest’ standard
                                                   the Designation of Honduras for Temporary               month period was selected.                             invokes broader economic an national-security
                                                                                                                                                                  considerations, and such determinations are firmly
                                                   Protected Status; Extension of the Temporary               Second, and similarly, the July 1,                  committed to the discretion of the Executive
                                                   Protected Status Designation for Honduras, 88 FR        2024, notice is bereft of any justification
                                                   40304 (June 21, 2023); Reconsideration and                                                                     Branch—not to federal courts’’ (citing Trump v.
                                                   Rescission of Termination of the Designation of         of why permitting the ever-increasing                  Hawaii, 585 U.S. 667, 684–86 (2018)); Flores v.
                                                   Nicaragua for Temporary Protected Status;               population of Haitian TPS recipients,                  Garland, 72 F.4th 85, 89–90 (5th Cir. 2023) (same);
                                                                                                                                                                  Brasil v. Sec’y, Dep’t of Homeland Sec., 28 F.4th
                                                   Extension of the Temporary Protected Status             particularly those who entered the                     1189, 1193 (11th Cir. 2022) (same); cf. Matter of D–
                                                   Designation for Nicaragua, 88 FR 40294 (June 21,        country unlawfully, to remain
                                                   2023); Reconsideration and Rescission of                                                                       J–, 23 I&N Dec. 572, 579–81 (A.G. 2003)
                                                   Termination of the Designation of Nepal for                                                                    (recognizing that taking measures to stem and
                                                   Temporary Protected Status; Extension of the
                                                                                                             25 See INA 244(b)(3)(C), 8 U.S.C. 1254a(b)(3)(C).    eliminate possible incentives for potential large-
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                                                   Temporary Protected Status Designation for Nepal,         26 See INA 244(g), 8 U.S.C. 1254a(g) (‘‘Except as    scale migration from a given country—in that case,
                                                   88 FR 40317 (June 21, 2023).                            otherwise specifically provided, this section shall    Haiti—is ‘‘sound immigration policy’’ and an
                                                     19 88 FR 40287.                                       constitute the exclusive authority of the [Secretary   ‘‘important national security interest’’); Matter of
                                                     20 88 FR 40285.                                       of Homeland Security] under law to permit aliens       Dhanasar, 26 I&N Dec. 884, 890–91 (AAO 2016)
                                                                                                           who are or may become otherwise deportable or          (taking into account impact on U.S. workers in
                                                     21 See Designation of Haiti for Temporary
                                                                                                           have been paroled into the United States to remain     ‘‘national interest’’ assessments).
                                                   Protected Status, 86 FR 41863 (Aug. 3, 2021).           in the United States temporarily because of their         29 See, e.g., 89 FR 54888, 54490 (relying on Apr.
                                                     22 90 FR 8443, 8443 (Jan. 20, 2025).
                                                                                                           particular nationality or region of foreign state of   2021 report by Harvard Law School, July 2022
                                                     23 90 FR 8446.                                        nationality.’’).                                       report by the International Crisis Group, and Sept.
                                                     24 Id.                                                  27 See INA 244(h), 8 U.S.C. 1254a(h).                2021 report by the Council on Foreign Relations).



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                                                   critical infrastructure.30 The Department               determination.32 The Secretary is taking                  interests arguably engendered by the 18-
                                                   of State likewise underscored that                      the modest action here of partially                       month, vs. 12-month, designation and
                                                   significant development. Thus, both                     vacating the June 4, 2024, decision to                    extension period are outweighed by the
                                                   DHS and the Department of State                         reduce the designation and extension                      overriding interests and concerns
                                                   contemplated the real possibility of an                 period from 18 months to 12 months                        articulated in this notice.
                                                   improvement in conditions with the                      and to make a corresponding change to
                                                                                                                                                                     B. Effect of the Vacatur
                                                   deployment of the United Nations MSS                    the initial registration period for new
                                                   mission, yet that important                             applicants under the 2024 new                                As a result of the partial vacatur, the
                                                   development was not expressly factored                  designation.                                              2024 Haiti TPS extension and new
                                                   into the determination of the length of                    In taking this action, the Secretary has               designation remains in effect until
                                                   the extension and designation period.                   considered putative reliance interests in                 August 3, 2025, and the initial
                                                      Eighteen months is the maximum                       Secretary Mayorkas’ unreasoned                            registration period for new applicants
                                                   period of designation or extension                      granting of the statutory maximum 18-                     under the 2024 Haiti TPS designation
                                                   authorized under the TPS statute.                       month period.33 In particular, as noted,                  will remain in effect until August 3,
                                                   Neither the 2021 new designation, the                   in determining that a 12-month period                     2025. The Secretary, consistent with the
                                                   2023 extension and new designation,                     (vs. 6 months) is warranted, the                          statute, intends to review the Haiti TPS
                                                   nor the 2024 extension and new                          Secretary considered that Haitians have                   designation by June 4, 2025. If she fails
                                                   designation contained any discussion of                 already been able to register under the                   to do so, the statute triggers an
                                                   national interest considerations or why                 July 1, 2024, notice for over seven                       automatic six-month extension of the
                                                   the 18-month (vs. 6 or 12-month)                        months. The Secretary also considered                     current TPS designation.
                                                   periods were granted. Given the                         potential reliance interests in deciding                     Pursuant to this partial vacatur, TPS
                                                   protracted duration of the                              only to partially vacate the 2024                         re-registration applications, initial
                                                   ‘‘extraordinary and temporary                           decision instead of—as Secretary                          applications, and associated
                                                   conditions’’-based designation for Haiti,               Mayorkas did in 2023—entirely                             applications for employment
                                                   the absence of any meaningful appraisal                 rescinding or vacating the prior                          authorization filed pursuant to the July
                                                   of national interest factors or                         Administration’s decision. This action                    1, 2024, notice that remain pending
                                                   justification for the 18-month extension,               does not alter the 60-day re-registration                 with USCIS will, if approved, receive an
                                                   and the fact that eligible Haitians were                period permitted for existing                             expiration date of August 3, 2025. TPS
                                                   able to register for TPS under the July                 beneficiaries under the 2024 extension,                   beneficiaries under the Haiti TPS
                                                   1, 2024, notice for over seven months,                  which expired on August 30, 2024. And                     designation who have already received
                                                   the Secretary has determined that a 12-                 eligible new applicants will still be able                Employment Authorization Documents
                                                   month period is warranted.                              to register under the 2024 new                            (EADs); Forms 1–797, Notice of Action
                                                   Abbreviating the period from 18 to 12                   designation, but they must now do so by                   (Approval Notice); and Forms 1–94,
                                                   months will allow for a fresh review of                 August 3, 2025, instead of February 3,                    Arrival/Departure Record (collectively
                                                   country conditions in Haiti and of                      2026. Moreover, any putative reliance                     known as TPS-related documentation)
                                                   whether such conditions remain both                                                                               with a February 3, 2026, expiration date
                                                                                                              32 See INA 103(a), 244(b)(3), (b)(5)(A); 8 U.S.C.
                                                   ‘‘extraordinary’’ and ‘‘temporary,’’                                                                              do not need to refile applications with
                                                                                                           1103(a), 1254a(b)(3), (b)(5)(A); Reconsideration and
                                                   whether Haitian may return in safety,                   Rescission of Termination of the Designation of El
                                                                                                                                                                     USCIS for new TPS-related
                                                   and whether it is contrary to the U.S.                  Salvador for Temporary Protected Status; Extension        documentation showing an August 3,
                                                   national interest to continue to permit                 of the Temporary Protected Status Designation for         2025, expiration date. USCIS will not
                                                   the Haitian nationals to remain                         El Salvador, 88 FR 40282, 40285 (June 21, 2023)           recall TPS-related documentation
                                                                                                           (‘‘An agency has inherent (that is, statutorily
                                                   temporarily in the United States.                       implicit) authority to revisit its prior decisions
                                                                                                                                                                     previously issued with February 3,
                                                      Although the statute allows the                      unless Congress has expressly limited that                2026, expiration dates and those
                                                   Secretary to reassess country                           authority. The TPS statute does not limit the             documents remain valid through the
                                                   conditions—including whether allowing                   Secretary’s inherent authority to reconsider any          new TPS Haiti designation period
                                                                                                           TPS-related determination, and upon
                                                   the aliens to remain temporarily in the                 reconsideration, to change the determination.’’); see
                                                                                                                                                                     expiring on August 3, 2025.
                                                   United States is contrary to the U.S.                   also, e.g., Ivy Sports Medicine, LLC v. Burwell, 767      Additionally, USCIS will not issue new
                                                   national interest—at any time at least 60               F.3d 81, 86 (D.C. Cir. 2014) (Kavanaugh, J.)              TPS-related documentation with the
                                                   days before the end of the extension or                 (‘‘[A]dministrative agencies are assumed to possess       August 3, 2025, expiration date to aliens
                                                                                                           at least some inherent authority to revisit their prior
                                                   designation period, the statute does not                decisions, at least if done in a timely fashion. . . .
                                                                                                                                                                     who have previously received
                                                   preclude this more modest action in the                 ‘‘[I]nherent authority for timely administrative          documentation with the February 3,
                                                   interim.31 The Secretary intends to                     reconsideration is premised on the notion that the        2026, expiration date.
                                                   conduct a review of current conditions                  power to reconsider is inherent in the power to              Employers and Federal, State, and
                                                                                                           decide.’’ (quotation marks and citations omitted));
                                                   in Haiti and make a new determination                   Macktal v. Chao, 286 F.3d 822, 825–26 (5th Cir.
                                                                                                                                                                     local government agencies (such as
                                                   in due course.                                          2002) (‘‘It is generally accepted that in the absence     Departments of Motor Vehicles) that
                                                      As the prior Administration                          of a specific statutory limitation, an administrative     previously accepted or are presented
                                                   concluded, the TPS statute does not                     agency has the inherent authority to reconsider its       with an EAD with the TPS category
                                                                                                           decisions.’’) (collecting cases); Mazaleski v.
                                                   limit the Secretary’s inherent authority                Treusdell, 562 F.2d 701, 720 (D.C. Cir. 1977) (‘‘We
                                                                                                                                                                     code of A–12 or C–19 that expires on
                                                   under the INA to reconsider any TPS-                    have many times held that an agency has the               February 3, 2026, must update their
                                                   related determination, and upon                         inherent power to reconsider and change a decision        records to note that the validity date of
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                                                   reconsideration, to vacate or amend the                 if it does so within a reasonable period of time.’’);     the document is through August 3,
                                                                                                           cf. Last Best Beef, LLC v. Dudas, 506 F.3d 333, 340
                                                                                                           (4th Cir. 2007) (agencies possess especially ‘‘broad
                                                                                                                                                                     2025.
                                                     30 89 FR 54490 & nn. 77–79 (citing United Nations     authority to correct their prior errors’’).                  Aliens who have filed TPS
                                                   Security Council, Resolution 2699 (Oct. 2, 2023)).         33 Because temporary protected status, as the          applications pursuant to the July 1,
                                                     31 See INA 244(b)(3)(A)–(B), 1254a(b)(3)(A)–(B)       name itself makes clear, is an inherently temporary       2024, notice that remain pending with
                                                   (providing that the Secretary shall review              status and TPS designations are time-limited and
                                                   conditions at least 60 days before the end of the       subject to agency review, any putative reliance
                                                                                                                                                                     USCIS may also choose to withdraw
                                                   initial period of designation and any extended          interests of registrants in the Haiti under the Haiti     their TPS applications and request a
                                                   period of designation).                                 designation merit only diminished weight.                 refund of any filing fees by submitting


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                                                                     Case 1:25-cv-10498-RGS                            Document 1-5                  Filed 03/03/25           Page 6 of 6
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                                                   a signed written withdrawal request to                  Commerce (‘‘Commerce’’) to be sold in                 concerning glass wine bottles from Chile
                                                   USCIS.                                                  the United States at less than fair value             (90 FR 1543, January 8, 2025).
                                                                                                           (‘‘LTFV’’).2                                            Following notification of final
                                                   IV. Notice of Partial Vacatur of
                                                                                                                                                                 determinations by Commerce that
                                                   Secretary Mayorkas’ 2024 Decision                       Background
                                                                                                                                                                 imports of glass wine bottles from China
                                                   Regarding the Haiti TPS Extension and                      The Commission instituted these                    and Mexico were being sold at LTFV
                                                   New Designation                                         investigations effective December 29,                 within the meaning of section 735(a) of
                                                      By the authority vested in me as                     2023, following receipt of petitions filed            the Act (19 U.S.C. 1673d(a)), notice of
                                                   Secretary under sections 103(a) and 244                 with the Commission and Commerce by                   the supplemental scheduling of the final
                                                   of the Immigration and Nationality Act,                 the U.S. Glass Producers Coalition,                   phase of the Commission’s antidumping
                                                   8 U.S.C. 1103(a), 1254a, I am vacating in               which is comprised of Ardagh Glass Inc.               duty investigations concerning China
                                                   part the decision announced in the July                 (Indianapolis, Indiana) and the United                and Mexico was given by posting copies
                                                   1, 2024, notice titled Extension and                    Steel, Paper and Forestry, Rubber,                    of the notice in the Office of the
                                                   Redesignation of Haiti for Temporary                    Manufacturing, Energy, Allied                         Secretary, U.S. International Trade
                                                   Protected Status, 89 FR 54484. In doing                 Industrial and Service Workers                        Commission, Washington, DC, and by
                                                   so, I am (1) amending the period of the                 International Union (Pittsburgh,                      publishing the notice in the Federal
                                                   extension and designation of Haiti for                  Pennsylvania). The Commission                         Register (90 FR 3251, January 14, 2025).
                                                   TPS from 18 months to 12 months, with                   scheduled the final phase of the                        The Commission made these
                                                   a new end date of August 3, 2025; and                   investigations following notification of a            determinations pursuant to § 735(b) of
                                                   (2) making a corresponding change to                    preliminary determination by                          the Act (19 U.S.C. 1673d(b)). It
                                                   the initial registration period for new                 Commerce that imports of glass wine                   completed and filed its determinations
                                                   applicants under the new designation,                   bottles from China were being                         in these investigations on February 18,
                                                   which now will remain in effect through                 subsidized by the government of China                 2025. The views of the Commission are
                                                   August 3, 2025. This notice supersedes                  (89 FR 47533, June 3, 2024). Notice of                contained in USITC Publication 5588
                                                   the July 1, 2024, notice at 89 FR 54484                 the scheduling of the final phase of the              (February 2025), entitled Glass Wine
                                                   to the extent modified by this partial                  Commission’s investigations and of a                  Bottles from China and Mexico:
                                                   vacatur.                                                public hearing to be held in connection               Investigation Nos. 731–TA–1662–1663
                                                      Information concerning the TPS                       therewith was given by posting copies                 (Final).
                                                   designation for Haiti will be available at              of the notice in the Office of the
                                                                                                           Secretary, U.S. International Trade                     By order of the Commission.
                                                   local USCIS offices upon publication of
                                                                                                           Commission, Washington, DC, and by                      Issued: February 18, 2025.
                                                   this notice and through the USCIS
                                                   National Customer Service Center at 1–                  publishing the notice in the Federal                  Lisa Barton,
                                                   800–375–5283. This information will be                  Register (89 FR 49901, June 12, 2024,                 Secretary to the Commission.
                                                   published on the USCIS website at                       and as revised in 89 FR 63445, August                 [FR Doc. 2025–02959 Filed 2–21–25; 8:45 am]
                                                   www.USCIS.gov.                                          5, 2024). The Commission conducted its                BILLING CODE 7020–02–P
                                                                                                           hearing on August 14, 2024. All persons
                                                   Kristi Noem,                                            who requested the opportunity were
                                                   Secretary, U.S. Department of Homeland                  permitted to participate.                             INTERNATIONAL TRADE
                                                   Security.                                                  Although antidumping duty petitions                COMMISSION
                                                   [FR Doc. 2025–02970 Filed 2–20–25; 4:15 pm]             for Chile, China, and Mexico and a
                                                   BILLING CODE 9111–97–P                                  countervailing duty petition for China                Notice of Receipt of Complaint;
                                                                                                           were filed on the same day, December                  Solicitation of Comments Relating to
                                                                                                           29, 2023, the investigation schedules                 the Public Interest
                                                   INTERNATIONAL TRADE                                     became staggered when Commerce did
                                                                                                                                                                 AGENCY: U.S. International Trade
                                                   COMMISSION                                              not align its countervailing duty
                                                                                                           investigation concerning China with its               Commission.
                                                   [Investigation Nos. 731–TA–1662–1663                    antidumping duty investigations                       ACTION: Notice.
                                                   (Final)]
                                                                                                           concerning Chile, China, and Mexico
                                                                                                                                                                 SUMMARY: Notice is hereby given that
                                                   Glass Wine Bottles From China and                       and reached an earlier final
                                                                                                                                                                 the U.S. International Trade
                                                   Mexico                                                  countervailing duty determination. On
                                                                                                                                                                 Commission has received a complaint
                                                                                                           October 9, 2024, the Commission issued
                                                                                                                                                                 entitled Certain Foreign-Fabricated
                                                   Determinations                                          a final negative determination in its
                                                                                                                                                                 Semiconductor Devices, Products
                                                      On the basis of the record 1 developed               countervailing duty investigation of
                                                                                                                                                                 Containing the Same, and Components
                                                   in the subject investigations, the United               glass wine bottles from China (89 FR
                                                                                                                                                                 Thereof, DN3809; the Commission is
                                                   States International Trade Commission                   83515, October 16, 2024).
                                                                                                              On December 10, 2024, counsel for                  soliciting comments on any public
                                                   (‘‘Commission’’) determines, pursuant                                                                         interest issues raised by the complaint
                                                   to the Tariff Act of 1930 (‘‘the Act’’),                the petitioner filed with Commerce a
                                                                                                           request to withdraw its petition                      or complainant’s filing pursuant to the
                                                   that an industry in the United States is                                                                      Commission’s Rules of Practice and
                                                   not materially injured or threatened                    regarding imports of glass wine bottles
                                                                                                           from Chile. On December 30, 2024,                     Procedure.
                                                   with material injury by reason of
                                                                                                           Commerce published notice in the                      FOR FURTHER INFORMATION CONTACT: Lisa
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                                                   imports of glass wine bottles from China
                                                   and Mexico, provided for in subheading                  Federal Register of the termination of                R. Barton, Secretary to the Commission,
                                                   7010.90.50 of the Harmonized Tariff                     its subject investigation concerning                  U.S. International Trade Commission,
                                                   Schedule of the United States, that have                glass wine bottles from Chile (89 FR                  500 E Street SW, Washington, DC
                                                   been found by the U.S. Department of                    106425) and the Commission                            20436, telephone (202) 205–2000. The
                                                                                                           subsequently terminated its                           public version of the complaint can be
                                                     1 The record is defined in § 207.2(f) of the          antidumping duty investigation                        accessed on the Commission’s
                                                   Commission’s Rules of Practice and Procedure (19                                                              Electronic Document Information
                                                   CFR 207.2(f)).                                            2 90 FR 76 and 79 (January 2, 2025).                System (EDIS) at https://edis.usitc.gov.


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